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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

           STIPULATION OF DISMISSAL WITHOUT PREJUDICE
       Pursuant to this Court’s Order dated May 25, 2018 (Dkt. No. 215) (“Order”),

the Parties, by and through their respective counsel, hereby stipulate1 as follows:

       WHEREAS, Plaintiffs Donna Curling, Donna Price, and Jeffrey Schoenberg

(the “Curling Plaintiffs”) desire to proceed efficiently to secure a just, speedy, and

inexpensive determination of this action that is in the best interests of Georgia

voters and that is consistent with judicial economy;



1
  All Parties consent to this Stipulation subject to the understanding that the Court
intends to docket the proposed Third Amended Complaint (Dkt. No. 160-1) as the
Coalition Plaintiffs’ operative complaint, as the Court has indicated it is prepared
to do. (Order, at 1.). Furthermore, State Defendants have consented to this
Stipulation so as to streamline and simplify the issues but without prejudice to
preserving their positions as set forth in Dkt. Nos. 166 and 191. Finally, the
Coalition Plaintiffs have consented to this Stipulation without prejudice to
reserving their position that Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1106
(11th Cir. 2004) applies and mandates a different procedure.
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        WHEREAS, the Curling Plaintiffs now desire to dismiss certain of their

claims and certain of the Defendants in order to simplify the issues between the

Parties, to reduce costs, and to help expedite these proceedings;

        WHEREAS, the Court indicates in its Order that the “Curling Plaintiffs

could achieve this by … entering a stipulation with Defendants” (Order at 1);

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

   1.      Counts III, IV, V, VI, VII, VIII, X, and XI shall be dismissed as against

           all Defendants, without prejudice.

   2.      Counts I, II, and IX shall proceed against Defendants Brian P. Kemp;

           David J. Worley, Rebecca N. Sullivan, Ralph F. “Rusty” Simpson, and

           Seth Harp (“Members of the State Election Board”); and Mary Carole

           Cooney, Vernetta Nuriddin, David J. Burge, and Aaron Johnson

           (“Members of the Fulton County Board of Registration and Elections”),

           in their official capacities only.

   3.      All claims shall be dismissed as against Defendant State Election Board,

           without prejudice.

   4.      All claims shall be dismissed as against Defendant Richard Baron,

           Director of the Fulton County Board of Registration and Elections,

           without prejudice.


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   5.     All claims shall be dismissed as against Defendant Fulton County Board

          of Registration and Elections, without prejudice.

   6.     All claims shall be dismissed as against Defendant Maxine Daniels,

          Director of the DeKalb County Board of Registrations and Elections,

          without prejudice.

   7.     All claims shall be dismissed as against Defendants Michael P. Coveny,

          Anthony Lewis, Leona Perry, Samuel E. Tillman, and Baoky N. Vu

          (“Members of the DeKalb County Board of Registrations and

          Elections”), without prejudice.

   8.     All claims shall be dismissed as against Defendant DeKalb County Board

          of Registrations and Elections, without prejudice.

   9.     All claims shall be dismissed as against Defendant Janine Eveler,

          Director of the Cobb County Board of Elections and Registration,

          without prejudice.

   10.    All claims shall be dismissed as against Defendants Phil Daniell, Fred

          Aiken, Joe Pettit, Jessica Brooks, and Darryl O. Wilson (“Members of

          the Cobb County Board of Elections and Registration”), without

          prejudice.




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    11.    All claims shall be dismissed as against Defendant Cobb County Board

           of Elections and Registration, without prejudice.

    12.    All claims shall be dismissed as against Defendant Merle King,

           Executive Director of the Center for Election Systems at Kennesaw State

           University, without prejudice; Merle King, following his dismissal, will

           continue to preserve potentially relevant materials and information for

           this litigation and will cooperate with discovery.

    13.    All Parties have agreed to a schedule for the exchange of information to

           facilitate the preservation of certain relevant materials and information

           (together, the “Preservation Agreement”). This Stipulation does not

           affect or alter the Parties’ (including those Defendants dismissed as part

           of this Stipulation) rights or obligations to preserve evidence pursuant to

           the Preservation Agreement or otherwise but rather maintains the status

           quo in relation thereto.2


2
  By signing this Stipulation, the Coalition Plaintiffs do not withdraw their standing
objection to the Preservation Agreement noted in Robert McGuire’s email to
counsel for all parties sent on May 17, 2018, at 10:47 p.m. Eastern time, namely:
“To be clear, our information requirements (which we have repeatedly
communicated to everybody) have not changed just because certain items we have
asked for aren’t included in Paragraph 2 of this proposed schedule. We will
release the number of machines that we can release based on the information we
end up being provided. If that information is less than what we need, then we will
of course just have to release fewer machines than we could have done.”
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   14.    The Curling Plaintiffs have no claims against any Fulton County

          Defendant based on the factual predicates included in the Complaint that

          do not involve a Fulton County Defendant. Further, no factual

          allegations involving the dismissed Defendants will be imputed to the

          Fulton County Defendants.

Dated: June 1, 2018                   Respectfully submitted,

                                       /s/ Adam M. Sparks
                                      David D. Cross
                                      (admitted pro hac vice)
                                      John P. Carlin
                                      (admitted pro hac vice)
                                      Jane P. Bentrott
                                      (admitted pro hac vice)
                                      Catherine L. Chapple
                                      (admitted pro hac vice)
                                      Robert W. Manoso (pro hac vice application
                                      pending)
                                      MORRISON & FOERSTER LLP
                                      2000 Pennsylvania Avenue, NW
                                      Suite 6000
                                      Washington, DC 20006
                                      Telephone: (202) 887-1500
                                      DCross@mofo.com
                                      JCarlin@mofo.com
                                      JBentrott@mofo.com
                                      CChapple@mofo.com
                                      RManoso@mofo.com

                                      Halsey G. Knapp, Jr.
                                      GA Bar No. 425320
                                      Adam M. Sparks
                                      GA Bar No. 341578
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                                    KREVOLIN & HORST, LLC
                                    1201 West Peachtree Street, NW
                                    Suite 3250
                                    Atlanta, GA 30309
                                    Telephone: (404) 888-9700
                                    HKnapp@khlawfirm.com
                                    Sparks@khlawfirm.com

                                    Counsel for Plaintiffs Donna Curling,
                                    Donna Price & Jeffrey Schoenberg

                                    /s/ Robert A. McGuire, III (w/express
                                    permission)
                                    Robert A. McGuire, III
                                    Admitted Pro Hac Vice (ECF No. 125)
                                    ROBERT MCGUIRE LAW FIRM
                                    113 Cherry St. #86685
                                    Seattle, WA 98104-2205
                                    ram@lawram.com
                                    (253) 267-8530

                                    Attorney for Plaintiff Coalition for Good
                                    Governance

                                    /s/ William Brent Ney (w/express
                                    permission)
                                    William Brent Ney
                                    GA Bar Number 542519
                                    NEY HOFFECKER PEACOCK & HAYLE, LLC
                                    One Midtown Plaza, Suite 1010
                                    1360 Peachtree Street NE
                                    Atlanta, GA 30309
                                    (404) 842-7232

                                    Attorney for Plaintiffs Coalition for Good
                                    Governance, William Digges III, Laura
                                    Digges, Ricardo Davis, and Megan Missett


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                                    /s/ Daniel W. White (w/express permission)
                                    DANIEL W. WHITE
                                    Georgia Bar No. 153033
                                    HAYNIE, LITCHFIELD & WHITE, PC
                                    222 Washington Avenue
                                    Marietta, GA 30060
                                    770-422-8900
                                    dwhite@hlclaw.com

                                    Attorney for Cobb Defendants

                                    /s/ Bennett D. Bryan (w/express permission)
                                    Bennett D. Bryan
                                    SENIOR ASSISTANT COUNTY
                                    ATTORNEY
                                    Georgia Bar No. 157099

                                    LAURA K. JOHNSON
                                    DEPUTY COUNTY ATTORNEY
                                    Georgia Bar No. 392090

                                    Terry G. Phillips
                                    SUPERVISING ATTORNEY
                                    Georgia Bar No. 576865

                                    PLEASE ADDRESS ALL
                                    COMMUNICATIONS TO:
                                    Bennett D. Bryan
                                    Assistant County Attorney
                                    1300 Commerce Drive, 5th Floor
                                    Decatur, GA 30030
                                    (404) 371-3011 – Telephone
                                    (404) 371-3024 – Facsimile
                                    bdbryan@dekalbcountyga.gov

                                    Attorneys for DeKalb Defendants



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                                    /s/ Cheryl Ringer (w/express permission)
                                    Kaye Burwell
                                    Georgia Bar Number: 775060
                                    kaye.burwell@fultoncountyga.gov
                                    Cheryl Ringer
                                    Georgia Bar Number: 557420
                                    cheryl.ringer@fultoncountyga.gov
                                    David Lowman
                                    Georgia Bar Number: 460298
                                    david.lowman@fultoncountyga.gov
                                    141 Pryor Street, S.W.
                                    Suite 4038
                                    Atlanta, Georgia 30303

                                    Attorneys for Defendants Richard Barron,
                                    Mary Carole Cooney, Vernetta Nuriddin,
                                    David J. Burge, Stan Matarazzo, Aaron
                                    Johnson, and the Fulton County Board of
                                    Registration and Elections

                                    /s/ Grant Edward Lavelle Schnell (w/express
                                    permission)
                                    Robert S. Highsmith, Jr.
                                    State Bar of Georgia No. 352777
                                    Grant Edward Lavelle Schnell
                                    Georgia Bar No. 106794
                                    Regions Plaza, Suite 1800
                                    1180 West Peachtree Street
                                    Atlanta, Georgia 30309
                                    Telephone: 404.817.8500
                                    Facsimile: 404.881.0470
                                    robert.highsmith@hklaw.com
                                    grant.schnell@hklaw.com

                                    Attorneys for Defendant Merle King




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Defendants.

                       CERTIFICATE OF COMPLIANCE
       Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                       /s/ Adam M. Sparks
                                      Adam M. Sparks




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BRIAN KEMP, ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE
       I hereby certify that on June 1, 2018, a copy of the foregoing

STIPULATION OF DISMISSAL WITHOUT PREJUDICE was electronically

filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all attorneys of record.

                                         /s/ Adam M. Sparks
                                        Adam M. Sparks




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